Case 2:13-cv-00843-JLL-JAD Document 1 Filed 02/11/13 Page 1 of 7 PageID: 1




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

 GENOVEVA HERNANDEZ, on behalf                   )
 of herself and all others similarly situated,   )      Civil Action No.
                                                 )
                            Plaintiffs,          )
                                                 )
                                                 )
                                                 )
 v.                                              )
                                                 )
                                                 )
                                                 )
 MERCANTILE ADJUSTMENT                           )
 BUREAU, LLC,                                    )
                                                 )
                            Defendant(s).        )


                              CLASS ACTION COMPLAINT
                                 AND JURY DEMAND

         Plaintiff Genoveva Hernandez, on behalf of herself and all others similarly

 situated by and through her undersigned attorneys, alleges against the above-named

 Defendant Mercantile Adjustment Bureau, LLC, its employees, agents, and successors

 the following:

                               PRELIMINARY STATEMENT

         1.       Plaintiff brings this action for damages and declaratory and injunctive

 relief arising from the Defendant’s violation of 15 U.S.C. § 1692 et seq., the Fair Debt

 Collection Practices Act (hereinafter “FDCPA”), which prohibits debt collectors from

 engaging in abusive, deceptive and unfair practices.

                               JURISDICTION AND VENUE

         2.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331,

 § 1337, and § 1367. This is an action for violations of 15 U.S.C. § 1692 et seq.
Case 2:13-cv-00843-JLL-JAD Document 1 Filed 02/11/13 Page 2 of 7 PageID: 2




         3.      Venue is proper in this district under 28 U.S.C. § 1331(b)(2) because the

 acts and transactions that give rise to this action occurred, in substantial part, in this

 district.

                                        DEFINITIONS

         4.      As used in reference to the FDCPA, the terms “creditor,”

 “communication,” “consumer,” “debt,” and “debt collector,” are defined in § 803 of the

 FDCPA and 15 U.S.C. § 1692a.

                                           PARTIES

         5.      Plaintiff Genoveva Hernandez is a natural person who at all relevant times

 resided in the State of New Jersey, County of Middlesex, City of Fords.

         6.      Plaintiff is obligated, or allegedly obligated, to pay a debt owed or due, or

 asserted to be owed or due to a creditor other than Defendant.

         7.      Plaintiff is a "consumer" as defined by U.S.C. § 1692a(3) of the FDCPA.

         8.      Defendant Mercantile Adjustment Bureau, LLC is a corporation,

 organized under the laws of the State of New York, and regularly engaged in the business

 of collecting debts in this State with its principal place of business located at 6390 Main

 Street, Suite 160, Williamsville, New York 14221.

         9.      Defendant uses instrumentalities of interstate commerce and/or the mails

 in a business the principal purpose of which is the collection of any debts, and/or

 regularly collects or attempts to collect, directly or indirectly, debts owed or due, or

 asserted to be owed or due another.

         10.     Defendant is a "debt collector" as defined by 15 U.S.C. § 1692a(6) of the

 FDCPA.
Case 2:13-cv-00843-JLL-JAD Document 1 Filed 02/11/13 Page 3 of 7 PageID: 3




                                 FACTUAL ALLEGATIONS

         11.       Defendant sought to collect from Genoveva Hernandez a debt allegedly

 due to GE Capital Corporation arising from transactions incurred for personal, family, or

 household purposes.

         12.       Upon information and good-faith-belief, Equable Ascent Financial, LLC

 (hereinafter “Equable”) purchased the alleged debt from GE Capital Corporation.

         13.       The alleged debt, now due to Equable, was listed with Defendant’s office

 for collection.

         14.       Defendant sent Ms. Hernandez an initial demand letter dated February 11,

 2012 in an attempt to collect the alleged debt. Defendant’s letter referenced an alleged

 debt due from Ms. Hernandez to Equable for an account number ending in 4678 for the

 amount of $541.36. (Attached hereto as Exhibit A.)

         15.       Exhibit A is a “communication” as defined by 15 U.S.C. § 1692a(2) of

 the FDCPA.

         16.       The text of Exhibit A reads in pertinent part:

         Unless you notify this office within 30 days after receiving this notice that you
         dispute the validity of this debt or any portion thereof, this office will assume this
         debt is valid. If you notify this office in writing within 30 days from receiving
         this notice, this office will: obtain verification of the debt or obtain a copy of
         the judgment and mail you a copy of such a judgment or verification. If you
         request this office in writing within 30 days after receiving this notice, this office
         will provide you with the name and address of the original creditor, if different
         from the current creditor.

 (Emphasis added.)

         17.       Exhibit A failed to inform Ms. Hernandez that in order to effectively

 dispute the alleged debt and obtain verification of the alleged debt or a copy of the
Case 2:13-cv-00843-JLL-JAD Document 1 Filed 02/11/13 Page 4 of 7 PageID: 4




 judgment against her, she must notify Defendant in writing that “the debt, or any portion

 thereof, is disputed.”

                           CLASS ACTION ALLEGATIONS

        18.     Plaintiff brings this action as a class action, pursuant to Rule 23 of the

 Federal Rules of Civil Procedure (hereinafter “FRCP”), on behalf of herself and all

 consumers and their successors in interest (hereinafter the “Class”), who have received

 debt collection letters and/or notices from Mercantile Adjustment Bureau, LLC which are

 in violation of the FDCPA, as described in this Complaint.

        19.     This Action is properly maintained as a statewide class action. The Class

 consists of:

                •   All New Jersey consumers who were sent collections letters and/or

                    notices from Mercantile Adjustment Bureau, LLC that contained at

                    least one of the alleged violations arising from the Defendant’s

                    violations of 15 U.S.C. 1692 et seq.

                •   The Class period begins one year to the filing of this Action.

        20.     The Class satisfies all the requirements of Rule 23 of the FRCP for

 maintaining a class action:

                •   Upon information and belief, the Class is so numerous that joinder of

                all members is impracticable because there are hundreds and/or thousands

                of persons who have received debt collection letters and/or notices from

                the Mercantile Adjustment Bureau, LLC that violate specific provisions of

                the FDCPA. Plaintiff is complaining of a standard form letter and/or

                notice that is sent to hundreds of persons;
Case 2:13-cv-00843-JLL-JAD Document 1 Filed 02/11/13 Page 5 of 7 PageID: 5




             •   There are questions of law and fact which are common to the Class

             and which predominate over questions affecting any individual Class

             member. These common questions of law and fact include, without

             limitation:

                  a. Whether Mercantile Adjustment Bureau, LLC is a debt collector;

                  b. Whether Mercantile Adjustment Bureau, LLC violated various

                       provisions of the FDCPA;

                  c.   Whether Plaintiff and the Class have been injured by the

                       conduct of Mercantile Adjustment Bureau, LLC;

                  d. Whether Plaintiff and the Class have sustained damages and are

                       entitled to restitution as a result of Defendant’s wrongdoing and

                       if so, what proper measure and appropriate statutory formula to

                       be applied in determining such damages and restitution; and

                  e. Whether Plaintiff and the Class are entitled to declaratory and/or

                       injunctive relief.

             •   Plaintiff’s claims are typical of the Class, which all arise from the

             same operative facts and are based on the same legal theories.

             •   Plaintiff has no interest adverse or antagonistic to the interest of the

             other member of the Class.

             •   Plaintiff will fairly and adequately protect the interest of the Class and

             has retained experienced and competent attorneys to represent the Class.

             •   A Class Action is superior to other methods for the fair and efficient

             adjudication of the claims herein asserted. Plaintiff anticipates that no
Case 2:13-cv-00843-JLL-JAD Document 1 Filed 02/11/13 Page 6 of 7 PageID: 6




                unusual difficulties are likely to be encountered in the management of this

                class action.

                •    A Class Action will permit large numbers of similarly situated

                persons to prosecute their common claims in a single forum

                simultaneously and without the duplication of effort and expense that

                numerous individual actions would engender. Class treatment will also

                permit the adjudication of relatively small claims by many Class members

                who could not otherwise afford to seek legal redress for the wrong

                complained of herein. Absent a Class Action, class members will continue

                to suffer losses of statutory protected rights as well as monetary damages.

                If Defendant’s conduct is allowed to proceed without remedy it will

                continue to reap and retain proceeds of its ill-gotten gains.

                •    Defendant has acted on grounds that generally applicable to the entire

                Class, thereby making appropriate final injunctive relief or corresponding

                declaratory relief with respect to the Class as a whole.

                                      COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                    15 U.S.C. § 1692 et. seq.

        21.     Plaintiff incorporates by reference paragraphs 1-20.

        22.     In Exhibit A Defendant failed to inform the consumer that in order

 to effectively dispute the alleged debt and obtain validation of the alleged debt or

 a copy of the judgment against her, she must notify Defendant in writing that “the

 debt, or any portion thereof, is disputed” in violation of 15 U.S.C. § 1692g(a)(4)

 and § 1692 e(10).
Case 2:13-cv-00843-JLL-JAD Document 1 Filed 02/11/13 Page 7 of 7 PageID: 7




         WHEREFORE, Plaintiff requests that the Court enter judgment in favor

 of Plaintiff and the Class Members and against Defendants for;

                         (1)     Statutory damages pursuant to 15 U.S.C. §

                                 1692k(a)(2)(B);

                         (2)     Attorney’s fees, litigations expenses and costs of

                                 suit pursuant to 15 U.S.C. § 1692k(a)(3);

                         (3)     Such other or further relief s the Court deems

                                 proper.



 Dated: Fort Lee, New Jersey
        February 5, 2013
                                                     /s Benjamin Nazmiyal
                                                     Benjamin Nazmiyal
                                                     Prabhkaran S. Bedi
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                               DEMAND FOR TRIAL BY JURY

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs hereby

 request a trial by jury on all issues so triable.



                                                     /s Benjamin Nazmiyal
                                                     Benjamin Nazmiyal, Esq.
